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                            UN ITED STATES D ISTRICT CO U RT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE N O.18-80166-CR M IDDLEBROOK S

UN ITED STA TES O F A M ER ICA ,
            Plaintiff,

VS.

N ICHOLAS W UKOSON,
              Defendantts)

                            O R DER R ESETTIN G JUR Y TRIA L

              THIS CAUSE comesbeforetheCourtupon theDefendant'sM otion to W ithdraw

Plea(D.E.27)whichwasgrantedonJanuary3,2019(D.E 36). DuetotheDefendant
withdrawing hisplea,thiscase isplaced back on the Court'strialdocket. Thetrialis

rescheduledto begin on M onday,February 4,2019 at9:00 am in W estPalm Beach. Forthe

reasonsstated,theCourtfindsthattheinterestsofjusticeoutweighthedemandsoftheSpeedy
TrialA ct. Therefore,itis

       O RDERED AND ADJUDGED thatthetime between Septem ber26,2018 and February

4,2019 ishereby excluded from Speedy TrialActcalculations.
                                                             '
       D O N E A ND O R D ER ED atW estPalm B each,Florida       dday ofJanuary, 2019.




                                         DO     LD M .M IDDLEBROOKS
                                         U NITED STA TES D ISTRICT JUD G E
cc:    CounselofRecord
       U .S.Probation
